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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3002
                                     )
           v.                        )
                                     )
JUAN RAMON RIOS TORRES,              )          MEMORANDUM AND ORDER
                                     )
                Defendants.          )
                                     )


     1.   The motion to extend the deadline for filing pretrial
motions filed by defendant Juan Ramon Rios Torres, filing 33, is
granted.

     2. An evidentiary hearing on defendant Torres’ motion to
suppress, filing 35, will be held before the undersigned on
Wednesday, April 23, 2008 beginning at 1:30 p.m. in Courtroom #2,
United States Courthouse, Lincoln, Nebraska. The court has set
aside two hours for this hearing.

     3. Defendant Torres, his counsel, and counsel for the
government shall be present at this hearing.

     4.   Pursuant to NECrimR 12.5, copies of all exhibits
expected to be offered into evidence during the hearing, except
those to be used for impeachment only, shall be delivered to the
chambers of the undersigned at least twenty-four (24) hours
before the hearing and, at the outset of the hearing, to the
extent reasonably possible, the parties shall provide the
undersigned and the courtroom deputy with a written list of all
witnesses the parties expect to call.

     5.   As to all defendants, the trial of this case is
continued until further order of the court following resolution
of outstanding motions.


     DATED this 25th day of February, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
